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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION - SANTA ANA

RHONERY MANGAHAS,
Plaintiff,
v.
LOANME, INC.,
Defendant.

 

 

CASE NO. 8:16-cV-00087-AG-DFM

Hon. Andrew J. Guilford
Courtroom IOD

ORDER GRANTING STIPULATION
TO SUBMIT ACTION TO
ARBITRATION AND STAY ACTION

[No Hearing Required]

Date Filed: January 20, 2016

 

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The Court, having considered the Stipulation to Submit Action to Arbitration
and Stay Action (the "Stipulation") entered into between the parties, and finding that
good cause exists, hereby orders as follows:

1. The Stipulation is GRANTED.

2. The claims for relief asserted by Plaintiff in her Complaint against
Defendant in this action must be submitted to arbitration in accordance With the Note.

3. Plaintiff will commence arbitration before either the American
Arbitration Association or JAMS and the arbitration will be conducted in compliance
with applicable rules.

4. This action will be stayed pending completion of the arbitration
proceeding

5. The Court will retain jurisdiction with respect to the arbitration award
issued in the arbitration proceeding

T IS SO ORDERED.

DATED: Mzo\e

 

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